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Plaintiff,

VS.
CR. NO. 04-20460-B

CHR|STOPHER |V|. WALDEN.

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

 

This cause came on for a report date on May 31 , 2005. At that timel counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August ‘l, 2005 with a

re ort date of Monda Jul 25 2005 at 9:30 a.m., in Courtroom 1, 1‘lth Floor of the

 

Federa| Building, l\/|emphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(B)(B)(iv)becausethe ends of]ustice served in allowing for additional time

to prepare outweigh the need for a eedy trial

|T |S SO ORDERED thls daz:ne, 2005. /

UHZL BREEN
l\?lT D STATES DlSTR| T JUDGE

 
 
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

